EXHIBIT F
                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF DELAWARE

                                                     )
 IMMERVISION, INC.                                   )
                                                     )
                                          Plaintiff, )
                         v.                                   Civil Action No. 21-1484-MN-CJB
                                                     )
 APPLE INC.,                                         )
                                                     )        JURY TRIAL DEMANDED
                                        Defendant. )
                                                     )
                                                     )
                                                     )
                                                     )
 IMMERVISION, INC.                                   )
                                                     )
                                          Plaintiff, )
                         v.                                   Civil Action No. 1:21-cv-1570-MN-CJB
                                                     )
 APPLE INC.,                                         )
                                                     )        JURY TRIAL DEMANDED
                                        Defendant. )
                                                     )
                                                     )
 IMMERVISION, INC.                                   )
                                                     )
                                          Plaintiff, )
                         v.                          )
                                                              Civil Action No. 1:21-cv-01733-MN-CJB
 APPLE INC.,                                         )
                                                     )
                                         Defendant. )         JURY TRIAL DEMANDED
                                                     )
                                                     )
                                                     )


     STIPULATION AND [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER


       Pursuant to Federal Rule of Civil Procedure 26(c), Plaintiff ImmerVision, Inc.

(“ImmerVision’”) and Defendant Apple Inc., (“Apple”) (collectively, the “Parties,” or

individually, a “Party”) agree to the entry of this Supplemental Protective Order to facilitate and




SUPPLEMENTAL PROTECTIVE ORDER – PAGE 1
expedite discovery of source code and materials requiring similar protections in the actions

captioned above (the “Actions”).

IT IS ORDERED THAT:
       1.      This Supplemental Protective Order supplements and incorporates by reference

the Protective Order entered by the Court on August 26, 2022 (D.I. 40, 35, 60 in the -1484, -

1570, -1733 actions, respectively).

       2.      Definitions.

               a.      “Protected Information,” previously defined in the Protective Order, also

means any Discovery Material that is designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY – SOURCE CODE” as provided for in this Order.

               b.      “Source Code” means computer code, scripts, assembly, binaries, object

code, source code listings (e.g., file names and path structure), descriptions of source code (e.g.,

descriptions of declarations, functions, and parameters), object code listings and descriptions of

object code, Hardware Description Language (HDL) or Register Transfer Level (RTL) files that

describe the hardware design of any ASIC or other chip, and Computer Aided Design (CAD)

files that describe the hardware design of any component, including files that specify the design

of a lens or other optical apparatus and which may be viewed and used by optical design

software such as Zemax OpticStudio.

       3.      Designations.

               a.      Protected Information that includes confidential, proprietary, and/or

trade secret Source Code may be designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY – SOURCE CODE.” Protected Information designated as such will be accorded

the same protections and requirements as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY Information provided for in the Protective Order, in addition to the provisions of this

AGREED PROTECTIVE ORDER – PAGE 2
Supplemental Protective Order. Access to Protected Information designated “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” should be limited to

those persons designated in and under the conditions set forth in ¶¶ 4 and 5, below.

       4.      Unless otherwise ordered by the Court, HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY – SOURCE CODE Information may be disclosed only to:

               a.     Outside Counsel of record (identified in the signature blocks below) for

named parties to this action, provided that such Outside Counsel is not involved in

competitive decision-making (meaning, for purposes of this paragraph, pricing decisions,

sales, marketing, product design or development, or technical research and development),

and stenographic, clerical, and legal assistant employees or contractors of those attorneys

whose functions require access to such information working at the direction of such counsel;

               b.     Outside experts or consultants who are not regular officers,

directors, or employees of a named Party to this action or a competitor of a Party (nor

anticipated at the time of retention to become officers, directors, or employees of a Party

or a competitor of a Party), who are not involved in competitive decision-making

(meaning, for purposes of this paragraph, pricing decisions, sales, marketing, product

design or development, or technical research and development), on behalf of a Party or a

competitor of a Party, and who are retained by a named Party or its counsel, such as

independent technical experts whose advice and consultation are being or will be used by

such Party or its counsel in connection with this action; provided that disclosure is only to

the extent necessary to perform such work; and provided that disclosure to such experts or

consultants shall be made only to such experts or consultants after obtaining a signed

Agreement To Abide By Stipulation And Protective Order in the form of Exhibit A



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attached to the August 26, 2022, Protective Order from each such expert or consultant

who would require access to CONFIDENTIAL, HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY, or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY – SOURCE CODE Information, that such expert or consultant accesses HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY or HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY – SOURCE CODE materials in the United States only and

does not transport them to or access them from any foreign jurisdiction, and that no

unresolved objections to such disclosure exist after proper notice has been given to all

Parties as set forth in Paragraph 21 of the August 26, 2022, Protective Order. Counsel

shall retain in his or her file the original of each such signed Agreement To Abide By

Stipulation and Protective Order;

               c.     The Court, authorized staff, and jury;

               d.     Court reporters, stenographers, and videographers to the extent

necessary to perform their work;

               e.     Any mediator (who is not a U.S. District or Magistrate Judge or his

or her staff) who is assigned to hear this matter, and his or her staff, subject to their

agreement to maintain confidentiality to the same degree as required by this Protective

Order; and

               f.     Any other person with the prior written consent of the Producing

Party.

         5.    Disclosure and Review of Source Code

               a.     Any Source Code that is produced by Plaintiff shall be made available for

inspection in electronic format at the Wilmington office of its outside counsel, Panitch Schwarze



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Belisario & Nadel LLP, or any other location mutually agreed by the Parties. Any Source Code

that is produced by Apple Inc. will be made available for inspection at the Chicago office of its

outside counsel, Goldman Ismail Tomaselli Brennan & Baum LLP, or any other location

mutually agreed upon by the Parties. Source Code will be made available for inspection between

the hours of 9 a.m. and 6 p.m. on business days (i.e., weekdays that are not Federal holidays),

although the Parties will be reasonable in accommodating reasonable requests to conduct

inspections at other times.

               b.      Prior to the first inspection of any requested Source Code, the Receiving

Party shall provide thirty (30) days notice of the Source Code that it wishes to inspect. The

Receiving Party shall provide fourteen (14) days notice prior to any additional inspections.

               c.      Source Code that is designated “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY – SOURCE CODE” shall be produced for inspection and

review subject to the following provisions, unless otherwise agreed by the Producing Party:

                       i.     All Source Code shall be made available by the Producing Party to

the Receiving Party’s outside counsel and/or experts in a secure room on a secured computer

without Internet access or network access to other computers and on which all access ports have

been disabled (except for one printer port), as necessary and appropriate to prevent and protect

against any unauthorized copying, transmission, removal or other transfer of any Source Code

outside or away from the computer on which the Source Code is provided for inspection (the

“Source Code Computer” in the “Source Code Review Room”). The Producing Party shall install

tools that are sufficient for viewing and using the code produced, on the platform produced, if

such tools exist and are presently used in the ordinary course of the Producing Party’s business.

For lens-design files in this case, the Producing Party shall install Zemax OpticStudio or a



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similar optical design software tool sufficient to view and/or use the produced files (e.g.,

Synopsys Code V). For other types of Source Code, the Receiving Party’s outside counsel and/or

experts may request that commercially available software tools for viewing and searching Source

Code be installed on the secured computer, provided, however, that (a) the Receiving Party

possesses an appropriate license to such software tools; (b) the Producing Party approves such

software tools; and (c) such other software tools are reasonably necessary for the Receiving Party

to perform its review of the Source Code consistent with all of the protections herein. The

Receiving Party must provide the Producing Party with the CD or DVD containing such licensed

software tool(s) at least twenty-one (21) days in advance of the date upon which the Receiving

Party wishes to have the additional software tools available for use on the Source Code

Computer.

                       ii.     No recordable media or recordable devices, including without

limitation sound recorders, computers, cellular telephones, peripheral equipment, cameras, CDs,

DVDs, or drives of any kind, shall be permitted into the Source Code Review Room.

                       iii.    The Receiving Party’s outside counsel and/or experts shall be

entitled to take notes relating to the Source Code but may not copy the Source Code into the

notes and may not take such notes electronically on the Source Code Computer itself or any

other computer.

                       iv.     The Producing Party may visually monitor the activities of the

Receiving Party’s representatives during any Source Code review, but only to ensure that no

unauthorized electronic records of the Source Code and no information concerning the Source

Code are being created or transmitted in any way.

                       v.      No copies of all or any portion of the Source Code may leave the



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room in which the Source Code is inspected except as otherwise provided herein. Further, no

other written or electronic record of the Source Code is permitted except as otherwise provided

herein. The Producing Party shall make available a laser printer with commercially reasonable

printing speeds for on-site printing during inspection of the Source Code. The Receiving Party

may print limited portions of the Source Code only when necessary to prepare court filings or

pleadings or other papers (including a testifying expert’s expert report). For lens-design files

relevant to this case, the Receiving Party may not print information relating to the prescription of

the lenses described in the produced files (for avoidance of doubt, including the raw lens data

contained in such lens-design files), but may print the outputs of Zemax OpticStudio or a similar

optical design software (e.g., cross-section diagrams of the lens, ray-tracing diagrams, or graphs

of optical properties such as image point distribution relative to field angle, relative illumination,

or MTF). For other types of Source Code, any printed portion that consists of more than five (5)

pages of a continuous block of Source Code shall be presumed to be excessive, and the burden

shall be on the Receiving Party to demonstrate the need for such a printed copy. The Receiving

Party may print out no more than 20 pages total of Source Code. The Receiving Party shall not

print Source Code in order to review blocks of Source Code elsewhere in the first instance, i.e.,

as an alternative to reviewing that Source Code electronically on the Source Code Computer, as

the Parties acknowledge and agree that the purpose of the protections herein would be frustrated

by printing portions of code for review and analysis elsewhere, and that printing is permitted

only when necessary to prepare court filings or pleadings, or other papers (including a testifying

expert’s expert report). Upon printing any such portions of Source Code, the printed pages shall

be collected by the Producing Party. The Producing Party shall Bates number, copy, and label

“HIGHLY CONFIDENTIAL –ATTORNEYS’ EYES ONLY – SOURCE CODE” any pages



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printed by the Receiving Party. Within fourteen (14) days, the Producing Party shall either (i)

provide one copy set of such pages to the Receiving Party or (ii) inform the Requesting Party

that it objects that the printed portions are excessive and/or not done for a permitted purpose. If,

after meeting and conferring, the Producing Party and the Receiving Party cannot resolve the

objection(s), the Receiving Party shall be entitled to seek a Court resolution of whether the

printed Source Code in question is narrowly tailored and was printed for a permitted purpose.

The burden shall be on the Receiving Party to demonstrate that such printed portions are no more

than is reasonably necessary for a permitted purpose and not merely printed for the purposes of

review and analysis elsewhere. The printed pages shall constitute part of the Source Code

produced by the Producing Party in this action.

                       vi.     All persons who will review a Producing Party’s Source Code on

behalf of a Receiving Party, including members of a Receiving Party’s outside law firm, shall be

identified in writing to the Producing Party at least five (5) days in advance of the first time that

such person reviews such Source Code. Such identification shall be in addition to any other

disclosure required under this Order. All persons viewing Source Code shall sign on each day

they view Source Code a log that will include the names of persons who enter the locked room to

view the Source Code and when they enter and depart.

                       vii.    Unless otherwise agreed in advance by the Parties in writing,

following each day on which inspection is done under this Order, the Receiving Party’s outside

counsel and/or experts shall remove all notes, documents, and all other materials from the Source

Code Review Room. The Producing Party shall not be responsible for any items left in the room

following each inspection session, and the Receiving Party shall have no expectation of

confidentiality for any items left in the room following each inspection session without a prior



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agreement to that effect. Proper identification of all authorized persons shall be provided prior to

any access to the secure room or the computer containing Source Code. Proper identification

requires showing, at a minimum, a photo identification card sanctioned by the government of any

State of the United States, by the government of the United States, or by the nation state of the

authorized person’s current citizenship. Access to the secure room or the Source Code Computer

may be denied, at the discretion of the Producing Party, to any individual who fails to provide

proper identification.

                         viii.   Other than as provided above, the Receiving Party will not copy,

remove, or otherwise transfer any Source Code from the Source Code Computer including,

without limitation, copying, removing, or transferring the Source Code onto any recordable

media or recordable device. The Receiving Party will not transmit any Source Code in any way

from the Producing Party’s facilities or the offices of its outside counsel of record.

                         ix.     The Receiving Party’s outside counsel of record may make no

more than three (3) additional paper copies of any portions of the Source Code received from a

Producing Party pursuant to Paragraph 5(c)(v), not including copies attached to court filings or

used at depositions, and shall maintain a log of all paper copies of the Source Code. The log shall

include the names of the reviewers and/or recipients of paper copies and locations where the

paper copies are stored. Upon one (1) day’s advance notice to the Receiving Party by the

Producing Party, the Receiving Party shall provide a copy of this log to the Producing Party.

                         x.      The Receiving Party’s outside counsel of record and any person

receiving a copy of any Source Code shall maintain and store any paper copies of the Source

Code at their offices in a manner that prevents duplication of or unauthorized access to the

Source Code, including, without limitation, storing the Source Code in a locked room or cabinet



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at all times when it is not in use. No more than a total of ten (10) individuals identified by the

receiving party shall have access to the printed portions of Source Code (except insofar as such

code appears in any court filing or expert report).

                       xi.     For depositions, the Receiving Party shall not bring copies of any

printed Source Code. Rather, at least ten (10) days before the date of the deposition, the

Receiving Party shall notify the Producing Party about the specific portions of Source Code it

wishes to use at the deposition, and the Producing Party shall bring printed copies of those

portions to the deposition for use by the Receiving Party. Copies of Source Code that are marked

as deposition exhibits shall not be provided to the Court Reporter or attached to deposition

transcripts; rather, the deposition record will identify the exhibit by its production numbers. All

paper copies of Source Code brought to the deposition shall remain with the Producing

Counsel’s outside counsel for secure destruction in a timely manner following the deposition.

                       xii.    Except as provided in this sub-paragraph, absent express written

permission from the Producing Party, the Receiving Party may not create electronic images, or

any other images, or make electronic copies, of the Source Code from any paper copy of Source

Code for use in any manner (including by way of example only, the Receiving Party may not

scan the Source Code to a PDF or photograph the code). Images or copies of Source Code shall

not be included in correspondence between the Parties (references to production numbers shall

be used instead) and shall be omitted from pleadings and other papers whenever possible. If a

Party reasonably believes that it needs to submit a portion of Source Code as part of a filing with

the Court, the Parties shall meet and confer as to how to make such a filing while protecting the

confidentiality of the Source Code and such Source Code will not be filed absent agreement from

the Producing Party that the confidentiality protections will be adequate. If a Producing Party



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agrees to produce an electronic copy of all or any portion of its Source Code or provide written

permission to the Receiving Party that an electronic or any other copy needs to be made for a

Court filing, access to the Receiving Party’s submission, communication, and/or disclosure of

electronic files or other materials containing any portion of Source Code (paper or electronic)

shall at all times be limited solely to individuals who are expressly authorized to view Source

Code under the provisions of this Order. Where the Producing Party has provided the express

written permission required under this provision for a Receiving Party to create electronic copies

of Source Code, the Receiving Party shall maintain a log of all such electronic copies of any

portion of Source Code in its possession or in the possession of its retained consultants, including

the names of the reviewers and/or recipients of any such electronic copies, and the locations and

manner in which the electronic copies are stored. Additionally, any such electronic copies must

be designated “HIGHLY CONFIDENTIAL –ATTORNEYS’ EYES ONLY – SOURCE CODE”

as provided for in this Order.


SO ORDERED.




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